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                             EXHIBIT 23
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                  UNITED STATES DISTRICT COURT

            FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS )                   03-MDL-1570 (GBD) (SN)

ON SEPTEMBER 11, 2001       )

                            )




              EXPERT REPORT OF JONATHAN M. WINER
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          the governments of those or neighboring countries

13.3. As stated throughout my Expert Report, the Wahhabist ideology propagated by
      these charities, including its intolerance for Christians and Jews, its promotion of
      Jihad, including martyrdom, and its call to redeem territory for the Islamic world,
      provided the ideas that led to the indoctrination of those who came to fight fo al
      Qaeda and associated groups. The humanitarian support and relief activities,
      including activities at orphanages and schools directed at young Muslims, merged
      with recruitment activities to produce Islamic fighters for battle with non-Islamic
      forces controlled by “infidels,” especially in areas of active warfare such as
      Afghanistan, Bosnia, Chechyna, Israel/Palestine, and Kashmir, but also in other
      areas such as Southeast Asia, West Africa, the Maghreb, and East Africa, where
      pan-Islamic fundamentalism was seeking to establish Islamic rule as an
      alternative to secularist control.

13.4. The recruitment activities in turn merged with support activities, such as the
      provision of office space, fake identification as workers for the charities,
      facilitation of travel, and sponsorship of others who were directly engaged in
      acquiring weapons for use by Islamic fighters. In Afghanistan, it included the
      actual acquisition of real estate to be used for the training of Islamic fighters that
      also became training grounds for terrorists in such areas as how to use weapons
      and make bombs. These activities in turn helped al Qaeda build its global
      network, recruit and train terrorists, and deploy them on a global basis, including
      against the United States and to carry out the 9/11 terrorist attacks.

13.5. Audits of branches of IIRO, discussed also in Section 10.9 of my Expert Report,
      provide context for why it is impossible to determine the precise amounts
      provided by these entities that were used to provide material support to al Qaeda.

          13.5.1. The audit of the IIRO Pakistan Branch Office from January 1, 1996
                  through February 22, 2001 found the apparent diversion of millions of
                  dollars of funds by that branch, and the wholesale fabrication of invoice,
                  receipts and entire projects to conceal that activity. The audit found
                  “tremendous financial embezzlement; roughly a million according to the
                  local currency.”235 One related finding is of particular importance: an
                  internal memo from an IIRO Financial Supervisor to the Secretary General
                  of IIRO, Adnan Basha, dated April 21, 2001, states that “certain invoices
                  are forged with names of unreal companies. The team went to the address
                  of these companies and shops and confirmed that they are unreal.”236

          13.5.2. The 1996 CIA Report referred to this IIRO branch office as the means by
                  which the the IIRO funded six al Qaeda training camps. There is no
                  reference in the audit to IIRO funding training camps, or to any other uses
                  of the funds for military activity, violence, and/or terrorism. I would not

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      IIRO 26468-26490
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      IIRO 31006-31007


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                  expect to find such a reference. I conclude that the information in the 1996
                  CIA Report that such funding did take place was reliable and accurate, as
                  the CIA routinely has to vet and assess sources, and would not have
                  included the information in the report if it had concerns about the
                  reliability of the source.237 The financial irregularities reflected in the audit
                  of the IIRO Pakistan branch are consistent with this conlcusion.

         13.5.3. I have also been provided information on an audit of IIRO Indonesia
                 covering the 2003/2004 timeframe, well after the 9/11 attacks. That audit
                 found that the accounting system used by IIRO Indonesia was deficient
                 and that accounting records could not be matched. Among the findings
                 were that there was no ledger that met the need for an effective accounting
                 system and that the auditors could not match debit balances because the
                 main office for the charity did not have a current account.238 The audit
                 itself did not show support for terrorism, which is not surprising given that
                 no documentary trail was maintained for the actual use of the funds, but
                 that the U.S. government’s findings make clear that such activities did
                 take place at that branch of IIRO. 239

         13.5.4. I have been provided a few pages excerpted from an audit of IIRO Jordan.
                 These few pages, as set forth in Section 10.9.4 of my Expert Report, also
                 showed irregularities and anomalies, which included duplicate payments,
                 deviations from polices and financial guidelines, and no oversight in
                 practice over what the charity was doing in Jordan.

         13.5.5. When audits find deficient accounting systems and fabricated records and
                 missing documentation and oversight at a charity such as the IIRO in three
                 branch offices, they suggest that other audits would find similar
                 deficiencies, making the financial records that do exist at best
                 untrustworthy and unreliable, and demanding upon the level of deficiency,
                 worthless as proofs that the charity was doing what it claims it has been
                 doing.

13.6. Even the most comprehensive review of the documents that exist today would not
      make it possible to precisely allocate the use of IIRO, WAMY and MWL assets
      prior to the 9/11 attacks between humanitarian support, on the one hand, and
      material support for terrorism, on the other. In conflict zones where Islamic

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     IIRO 31160-31166
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     Audit, IIRO Indonesia, IIRO 34989-35007.
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    “Treasury Designates Director, Branches of Charity Bankrolling Al Qaida Network,” U.S. Department of
Treasury Press Release, August 3, 2006
https://www.treasury.gov/press-center/press-releases/Pages/hp45.aspx The support provided by the IIRO
to terrorist groups in the Philippines during the period of time IIRO’s offices there were controlled by bin
Ladin’s brother-in-law, Mohammed Khalifa, was clearly considerable, and an audit to be proper would
need to address the entire range of activities involving diversions that have been described to date. See for
example “Funding Terrorism in Southeast Asia: The Financial Network of Al Qaeda and Jemaah Islamiya,”
Zachary Abuza, Contemporary Southeast Asia Vol. 25, No. 2 (August 2003), pp. 169-199.


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         fighters were at war with secular forces, and where so much of the aid was
         provided, there was no bright line to separate these activities in practice. Nor have
         I seen evidence that prior to the 9/11 attacks anyone supporting these charities
         sought to create or enforce a line to distinguish between humanitarian work,
         military activity against armed forces, and terrorism directed against civilians.

13.7. The limited audits that I have been provided are indicative of the broad problem:
      the charities did not maintain controls that would have prevented their use by
      actors on the ground to support terrorism. In the face of extensive evidence that
      the controls were inadequate, and requests by U.S. officials to address the use of
      the charities to facilitate extremism and terrorism, the leaders of the charities did
      not take meaningful efforts to put such controls in place and thereby begin to
      address the use of the charities to support al Qaeda and aligned terrorist groups.240

13.8. Based on the information I have reviewed, I conclude that comprehensive and
      accurate audits of all the offices of each of these charities (if they were to exist)
      would uncover additional discrepencies between the claimed uses of funds and
      proofs that these uses of funds were the actual activities carried out in practice.
      However, I would not expect documents maintained by the charities to document
      use for activities labeled as “terrorism.” Every UN member states has signed on to
      one or more of the UN anti-terrorism conventions.241 Any charity, even one
      charity knowingly funding the provision of weapons, would avoid putting on
      paper statements that it was using charitable funds to purchase weapons. Instead,
      what you would expect to find is documentation of lax auditing.

13.9. The Saudi government has told the U.S. government that comprehensive audits of
      its international charities were undertaken in a comprehensive fashion, but I have
      substantial uncertainty whether such statements were accurate as based on the
      information I have reviewed, no such comprehensive audits (with the very limited
      exceptions cited in my Expert Report) have been provided to outsiders.

13.10. For all of these reasons, it is not possible to determine the exact amount of the
       material support given by IIRO, WAMY and MWL for terrorism, or to compare it
       to the amount these charities carried out in humitarian activities. It is clear that
       these charities carried out extensive humanitarian activities, although some of

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    Even information that funds were spent for humanitarian purposes could be misleading if the
expenditures related to propagation activities, such as the building or maintenance of mosques or
madrassas, given the ideological content of those institutions prior to 9/11.
241
    “As a result of the attention focused on countering terrorism since the events of 11 September 2001 and
the adoption of Security Council resolution 1373 (2001), which calls on States to become parties to these
international instruments, the rate of adherence has increased: some two-thirds of UN Member States have
either ratified or acceded to at least 10 of the 19 instruments, and there is no longer any country that has
neither signed nor become a party to at least one of them.” UN Counter-Terrorism Committee, International
Instruments, https://www.un.org/sc/ctc/resources/international-legal-instruments/. As of 2020, there are 194
UN member states. Of these, 189 are currently parties to the UN International Convention for the
Suppression of the Financing of Terrorism. UN, Status, International Convention for the Suppression of
the Financing of Terrorism, https://treaties.un.org/Pages/ViewDetails.aspx?src=IND&mtdsg_no=XVIII-
11&chapter=18&lang=en


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